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                      IN THE UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF NEW YORK

   IN RE:
                                                          CHAPTER 7
   ORLY GENGER,
                                                          CASE NO. 19-13895 (JLG)
          Debtor.


              OBJECTION OF THE SAGI GENGER 1993 TRUST TO THE
       CHAPTER 7 TRUSTEE’S MOTION FOR ORDER PURSUANT TO RULE 9019
      OF THE FEDERAL RULES OF BANKRUPTCY PROCEDURE (A) APPROVING
      THE SETTLEMENT AGREEMENT, AND (B) GRANTING RELATED RELIEF

         The Sagi Genger 1993 Trust (the “SG Trust”), by and through its undersigned counsel of

 record, hereby files this objection (the “Objection”) to the Chapter 7 Trustee’s Motion for Order

 Pursuant to Rules 9019 of the Federal Rules of Bankruptcy Procedure (A) Approving the

 Settlement Agreement, and (B) Granting Related Relief (the “Motion”) filed by Deborah J. Piazza

 (the “Trustee”), the trustee in the above-captioned bankruptcy case. In support of the Objection,

 the SG Trust respectfully states as follows:

               1.        The Settlement Agreement for which the Trustee seeks approval (the

“Settlement Agreement”) would have the estate sell claims owned by the Orly Genger 1993 Trust

(the “OG Trust”) to a special purpose entity, Claims Pursuit Inc. (“CPI”), owned by the Lily Dor

Herschmann 2020 Lifetime Trust, a trust established for the benefit of the Debtor’s children. The

SG Trust objects, and does not consent, to this proposed sale.

               2.        The SG Trust and the OG Trust are both New York spendthrift trusts which

were established in 1993 for the benefit of Arie Genger’s descendants. Under Article Second,

Paragraph C of each Trust Agreement, each trust is the contingent remainder beneficiary of the other

trust, meaning that under certain specified contingencies, the remaining assets of one trust could end

up being distributed to the other trust. See Exhibit A, pp. 5-9.
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                3.        By Trial Order dated July 24, 2014, Surrogate Anderson of the New York

County Surrogate’s Court dismissed the Debtor’s petition to remove the trustee of the OG Trust for

“failure to join all necessary parties,” because the SG Trust, as a “contingent remainder beneficiary,”

has “a cognizable interest in the proper administration of the [OG] trust.” In re Genger, 2014 WL

536455 (Sur. Ct., N.Y. Cnty. July 24, 2014) (citing Matter of Bellinger, 35 A.D.2d 1078 (4th Dept

1970); Matter of Silver, 72 Misc. 2d 963 (Sur. Ct, Kings Cnty. 1973)).

                4.        In Regan v. Ross, 691 F.2d 81, 85 (1982), the U.S. Court of Appeals for the

Second Circuit held that 11 U.S.C. 541(c)(2) “preserves restrictions on transfer of a spendthrift trust

to the extent that the restriction is enforceable under applicable nonbankruptcy law.” As the Second

Circuit further explained in Regan: “A trust is considered ‘spendthrift’ in form if it restricts the

beneficiary’s right to alienate the income, principal, or both.” Id. at 85 n.13 (citing 1 A. Scott, The

Law of Trusts § 151, at 741 (1939); Restatement (Second) of Trusts § 152(2) (1959) (“A trust in

which by the terms of the trust or by statute a valid restraint on the voluntary and involuntary transfer

of the interest of the beneficiary is imposed is a spendthrift trust.”)).

                5.        The OG Trust is a spendthrift trust. Specifically, Article Eleventh, Section

C provides as follows:

          Neither the principal nor the income of any trust hereunder, or any part thereof,
          shall or may at any time be liable or subject in any manner whatsoever to the debts
          or liabilities of any beneficiary entitled to receive any principal or income
          therefrom; nor shall the principal or income of any trust hereunder be liable to
          attachment by garnishment proceedings or other legal process issued by any
          creditor of any beneficiary of such trust for debts heretofore or hereafter contracted
          by such beneficiary; nor shall any assignment, conveyance, charge, encumbrance
          or order, either of principal or income, given by any such beneficiary be valid.

  Exhibit A, p. 30 (emphasis added).

                6.        Further, even if the assets or income of the OG Trust could be alienated,

which they cannot, the trustee of the OG Trust has testified that he will not do so.



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            7.       Accordingly, for the foregoing reasons, to the extent that the Trustee seeks

approval of a Settlement Agreement purporting to alienate assets or income of the OG Trust, its

Motion should be denied.


 Dated: New York, New York                         EMMET, MARVIN & MARTIN, LLP
        July 16, 2021
                                                   By: /s/ John Dellaportas
                                                      John Dellaportas
                                                      120 Broadway
                                                      New York, NY 10271
                                                      Tel 212.238.3000
                                                      Attorneys for the Sagi Genger 1993 Trust




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                                    EXHIBIT A
                                                       To: Goldman Sachs
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                            ________________________________________________________________________________________________-61•140mor



                                                                                       TRUST AGREEMENT

                                                                                                                        BETWEEN


                                                                                                ARIE GENGER


                                                                                                     AS GRANTOR


                                                                                                                                          AND


                      LAWRENCE M. SMALL AND SASH A. SPENCER


                                                                                                AS TRUSTEES


                                                                                                                CREATING


                           THE ORLY GENGER 1993 TRUST




     Dated: December 13, 1993
     Copy 3 Of    4

                                                                                                                                          RUBIN BAUM LEVIN CONSTANT & FRIEDMAN
                                                                                                                                                30 Rockefeller Plaza   New York, NY 10112
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           TRUST AGREEMENT dated December 13, 1993, between ARIE
     GENGER (now residing at 1067 Fifth Avenue, New York, New York),
     as Grantor, and LAWRENCE M. SMALL (now residing at 2804 Woodland
     Drive, Washington, D.C. 20008) and SASH A. SPENCER (now residing
     at 251 Crandon Boulevard, Townhouse 164, Key Biscayne, Florida
     33149), as Trustees.

                  The Grantor hereby transfers to the Trustees, and the
     Trustees hereby acknowledge receipt of, the sum of Six Hundred
     Thousand Dollars ($600,000.00), to be held, administered and
     disposed of in accordance with the provisions of Article FIRST
     hereof. Said sum and any other property that may be received by
     the Trustees pursuant to the provisions of Article FOURTH hereof,
     and all investments and reinvestments thereof, and all proceeds
     thereof which constitute principal, are hereinafter collectively
     called "principal."

                  This Trust Agreement shall be known as the "Orly
     Genger 1993 Trust Agreement" and the trust created by Article
     FIRST hereof shall be known as the "Orly Genger 1993 Trust."

                  FIRST:      Disposition of Principal and Income
                              During the Life of the Grantor's Daughter,
                              ORLY GENGER.
           A.      The Trustees shall hold, manage, invest and reinvest
     the principal of the trust created by this Article, IN TRUST,
     and, so long as the Grantor's daughter, ORLY GENGER, shall live,
     the Trustees are authorized and empowered to pay such part, parts
     or all, if any, of the net income of the trust
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      created by this Article (hereinafter referred to in this Article
      as “Orly's Trust”) to, or apply such part, parts or all, if any,
      of such net income for the use or benefit of, such one or more of
      the following individuals living from time to time in such equal
      or unequal amounts or proportions, and at such time or times, as
      the Trustees, in their discretion, shall determine:

                         1.    The Grantor's daughter, ORLY GENGER.
                         2.    Each descendant of ORLY GENGER.
      The Trustees shall accumulate all income of Orly's Trust not so
      paid to or applied and, at least annually, add such net income
      to the principal of Orly's Trust.

                         In making such distributions, the Trustees are
      requested (but they are not directed) to limit the total amount
      of the distributions made to any descendant of ORLY GENGER with
      respect to any calendar year to the amount necessary to increase
      such descendant's taxable income for United States income tax
      purposes for such year to the greatest amount that shall still
      result in such descendant not being subject to United States
      income taxes at the highest marginal rate in effect for such year,
      after taking into account all of such descendant’s other income
      and deductions for such year.

                  B. The Trustees are authorized and empowered to pay
      to, or apply for the use or benefit of, the Grantor's said
      daughter such part, parts or all, if any, of the principal of
      Orly's Trust, and at such time or times, as said Trustees, in

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       their discretion, shall determine, without regard to the interest
       in the trust of any other person and without regard to the fact
       that any such payment or application may result in the termination
       of Orly's Trust.


               C.   Upon the death of the Grantor's said daughter, the
      Trustees shall pay the then principal of Orly's Trust, together
      with all net income thereof then accrued but not yet collected,
      and collected but not yet disposed of, as follows:


               1.   The Trustees shall pay one-half (1/2) of such
      income and principal, in such equal or unequal amounts or
      proportions, to or for the use or benefit of such one or more
      of the descendants of the Grantor's said daughter, and upon
      such terms, conditions and trusts, if any, as the Grantor's
      said daughter, by a provision in her Will expressly referring
      to this Article of this Trust Agreement, shall validly direct
      and appoint. If, or to the extent that, the Grantor's said
      daughter shall fail so validly to direct and appoint such
      principal and income, the Trustees, at the death of the
      Grantor's said daughter, shall pay the same, per stirpes, to
      such of the descendants of the Grantor's said daughter as
      shall survive her, subject, however, to the provisions of
      Article SECOND hereof, or, if no descendant of the Grantor's
      said daughter shall survive her, per stirpes, to such of the
      Grantor’s descendants as shall so survive, or, if no descendant
      of the Grantor shall so survive, in accordance with the provisions
      of Article THIRD hereof.


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                         2.   The Trustees shall pay one-half (1/2) of such
    income and principal, per stirpes, to such of the descendants of the
    Grantor's said daughter as shall survive her, subject, however, to
    the provisions of Article SECOND hereof, or, if no descendant of the
    Grantor's said daughter shall survive her, per stirpes, to such of
    the Grantor's descendants as shall so survive, or, if no descendant
    of the Grantor shall so survive, in accordance with the provisions
    of Article THIRD hereof

                         3.   If, pursuant to the provisions of paragraph 1 or
    paragraph 2 of this Section C, the Trustees are directed to pay a
    per stirpital share of such income and principal to a descendant of
    the Grantor, and if at the time the Trustees are so directed there
    shall be in existence a trust for such descendant under a trust
    agreement between Arie Genger, as grantor, and Lawrence M. Small and
    Sash A. Spencer, as trustees, executed on the date hereof and known
    as the "Sagi Genger 1993 Trust Agreement," the Trustees shall not
    pay such per stirpital share to such descendant but shall instead
    pay such per stirpital share to the trustees then acting under said
    trust agreement, to be disposed of by them pursuant to the
    provisions of the trust for such descendant under said trust
    agreement.


                D. Notwithstanding anything herein to the contrary, if any
    Trustee hereunder shall be one of the potential income beneficiaries
    of Orly's Trust, such Trustee shall not, in his or her capacity as
    such a Trustee, have any voice or vote or other-

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       wise participate in any decision pertaining to the payment or
       application of the income or principal of Orly's Trust to or for
       the use or benefit of him or her in his or her capacity as a
       beneficiary of such trust or to or for the use or benefit of any
       person whom he or she has an obligation to support, and, in each
       such event, the other Trustee or Trustees shall make all decisions
       relating to such trust that pertain to such matters.

                     SECOND: Continuing Trusts for
                             Descendants of the Grantor's Daughter,
                             ORLY GENGER.


                A.       If, under any provision of this Trust Agreement, any
         property is directed to be paid to a descendant of the Grantor's
         daughter, ORLY GENGER, subject to the provisions of this Article,
         such property shall not be distributed or paid to such descendant.
         Instead, the Trustees shall continue to hold such property, IN
         TRUST (in a separate trust for each such descendant which is
         referred to in this Article as “such descendant's trust"; provided,
         however, that if there shall be property so directed to be paid on
         more than one occasion to any such descendant, all such property
         shall be held in a single trust for such descendant), and, so long
         as such descendant shall live before attaining the age of twenty-
         one (21) years, the Trustees, other than such descendant if he or
         she shall be a Trustee hereunder, are authorized and empowered to
         pay to, or apply for the use or benefit of, such descendant, such
         part, parts or all, if any, of the net income of such descendant's



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      trust, and at such time or times, as said Trustees, in their
      discretion, shall determine, and the Trustees shall accumulate
      the balance of such net income, if any, and, at least annually,
      add it to the principal of such descendant's trust; and, so long
      as such descendant shall live after attaining the age of twenty-
      one (21) years, the Trustees shall pay to such descendant all of
      the net income of such descendant's trust in at least quarterly
      installments.


         B.     The Trustees, other than such descendant if he or she
   shall be a Trustee hereunder, are authorized and empowered to pay
   to, or apply for the use or benefit of, such descendant, such part,
   parts or all, if any, of the principal of such descendant's trust,
   and at such time or times, as said Trustees, in their discretion,
   shall determine, without regard to the interest in the trust of any
   other person and without regard to the fact that any such payment
   or application may result in the termination of the trust.

         C.     Upon the death of such descendant (hereinafter referred
   to in this Article as "such deceased descendant"), the Trustees
   shall pay the then principal of such deceased descendant's trust,
   together with all net income thereof accrued but not yet collected,
   and collected but not yet disposed of, as follows:




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          1.     The Trustees shall pay one-half (1/2) of such income and
    principal, in such equal or unequal amounts or proportions, to or
    for the use or benefit of such one or more of the descendants of
    such deceased descendant, and upon such terms, conditions and
    trusts, if any, as such deceased descendant, by a provision in his
    or her Will expressly referring to this Article of this Trust
    Agreement, shall validly direct and appoint. If, or to the extent
    that, such deceased descendant shall fail so expressly and so
    validly to direct and appoint such principal and income, the
    Trustees shall, at the death of such deceased descendant, pay the
    same, per stirpes, to such of the descendants of such deceased
    descendant as shall survive such deceased descendant, subject,
    however, to the provisions of this Article, or, if no such
    descendant shall so survive, per stirpes, to such of the descendants
    as shall so survive of the ancestor of such deceased descendant
    closest in degree of relationship to such deceased descendant who
    (i) shall have descendants who shall so survive and (ii) shall have
    been a descendant of the Grantor or shall have been the Grantor,
    subject, however, to the provisions of this Article, or, if no such
    descendant shall so survive, in accordance with the provisions of
    Article THIRD hereof.


          2.     The Trustees shall pay one-half (1/2) of such income and
    principal, per stirpes, to such of the descendants of such deceased
    descendant as shall survive such deceased
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     descendant, subject, however, to the provisions of this Article,
     or, if no such descendant shall so survive, per stirpes, to such
     of the descendants as shall so survive of the ancestor of such
     deceased descendant closest in degree of relationship to such
     deceased descendant who (i) shall have descendants who shall so
     survive and (ii) shall have been a descendant of the Grantor or
     shall have been the Grantor, subject, however, to the provisions
     of this Article, or, if no such descendant shall so survive, in
     accordance with the provisions of Article THIRD hereof.

                             3.   If,   pursuant   to   the   provisions   of
    paragraph 1 or paragraph 2 of this Section C, the Trustees are
    directed to pay a per stirpital share of such income and principal
    to a descendant of the Grantor subject to the provisions of this
    Article, and if at the time the Trustees are so directed there
    shall be in existence a trust for such descendant under a trust
    agreement between Arie Genger, as grantor, and Lawrence M. Small
    and Sash A. Spencer, as trustees, executed on the date hereof and
    known as the "Sagi Genger 1993 Trust Agreement," the Trustees
    shall not pay such per stirpital share to such descendant subject
    to the provisions of this Article but shall instead pay such per
    stirpital share to the trustees then acting under said trust
    agreement, to be disposed of by them pursuant to the provisions
    of the trust for such descendant under said trust agreement.
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               D. Notwithstanding anything herein to the contrary, each trust
     created by the terms of this Article shall terminate, if not sooner
     terminated, upon the expiration of twenty-one (21) years after the
     death of the last surviving descendant of the Grantor's parents,
     SHARGA GENGER and DORA GENGER, who shall have been in being on the
     date hereof; and the Trustees shall thereupon pay the then principal
     of any trust terminated in accordance with the provisions of this
     Section, together with all net income thereof accrued but not yet
     collected and collected but not yet disposed of, to the descendant
     of the Grantor with respect to whom such trust is being held.

                      THIRD:    Disposition of Property if No Descendant
                                of the Grantor is Living.

                      A. As used in this Article:

                           1.    The words "such time' shall mean the time as
        of which any property is directed to be paid in accordance with
        the provisions of this Article.

                           2.    The term “Qualified Charitable Organization"
       shall mean an organization that shall be qualified as an organization
       to which contributions and bequests are deductible for both United
       States income tax, gift tax and estate tax purposes under the
       provisions of Section 170, Section 2522 and Section 2055 of the
       Internal Revenue Code.




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               B. If under any provision of this Trust Agreement, any property
       is directed to be paid in accordance with the provisions of this
       Article, the Trustees shall pay such property as follows:

                          1.    If the Grantor, the Grantor's spouse and/or any
       one or more descendants of the Grantor shall have caused there to be
       created a foundation known as The Genger Foundation, and if at such time
       said Foundation shall be in existence and shall be a Qualified Charitable
       Organization, then, in such event, the Trustees shall pay such property
       to said Foundation.

                          2.    If at such time either The Genger Foundation
       created as aforesaid shall not be in existence or said Foundation
       shall be in existence but shall not be a Qualified Charitable
       Organization, and if at such time the Trustees are authorized under
       applicable law to cause to be organized a corporation under and in
       accordance with the laws of any state of the United States which the
       Trustees, in their discretion, shall select, which corporation (i)
       shall be known by the name of The Genger Foundation (or by such other
       name as the Trustees, in their discretion, shall select if the name
       of The Genger Foundation shall not be available to be utilized as the
       name of said corporation), (ii) shall have as its purposes the
       encouragement, promotion, support and enhancement of non-orthodox
       study and education for children in the State of Israel pertaining
       to the customs, practices and ancient and modern history of the Jewish



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       people and shall maintain all of the property held by it, and use
       all of the net income thereof received from time to time, for the
       encouragement, promotion, support and enhancement of such study
       and education for children, (iii) shall be required to maintain
       all of the property held by it, and use all of the net income
       thereof received from time to time, for such purposes, with such
       property and income to be expended for such purposes in such
       amounts, at such time or times and to or for the use or benefit
       of such recipient or recipients as the directors, trustees and/or
       the officers of such corporation shall, in their discretion,
       determine from time to time, subject, however, to the other
       provisions of this paragraph 2, (iv) shall have as its initial
       directors or trustees the Trustees hereunder, the Grantor's
       cousin, JEREMIAH WOHLBERG (now residing at 2325 Lindenmere Drive,
       Merrick, New York), if he shall not then be a Trustee hereunder,
       and also such other individual or individuals, if any, as may be
       designated by the Trustees, and thereafter to have as directors
       or trustees such individuals as shall from time to time be
       determined as provided for in the certificate of incorporation
       and/or by-laws of said corporation, and (v) shall be organized
       and maintained in such manner as to be and continue to be a
       Qualified Charitable Organization, then, in such event, the
       Trustees shall organize such a corporation, and the Trustees shall
       pay such property to such corporation.
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     3. If at such time (i) either the Genger Foundation created as
aforesaid shall not be in existence or said Foundation shall be in existence
but shall not be a Qualified Charitable Organization, and (ii) the Trustees
are not authorized under applicable law to cause to be organized a
corporation of the nature referred to in paragraph 2 of this Section B,
then, in such event, the Trustees shall pay such property to the JEWISH
COMMUNAL FUND OP NEW YORK, New York, New York, to be held, administered and
disposed of pursuant to the rules and regulations thereof as an Undesignated
Philanthropic Fund to be known as the Genger Philanthropic Fund and with
the privilege of making advisory recommendations with respect thereto to
be held in the first instance by the Trustees, said JEREMIAH WOHLRERG, it
he shall not then be a Trustee hereunder, and also by such other individual
or individuals, if any, as the Trustees may designate, and thereafter by
such other individual or individuals as such designees and their successors
acting in such capacity may from time to time designate, and it is requested
(but not directed) that the principal and income of such Fund shall be
utilized to encourage, promote, support and enhance non-orthodox study and
education for children in the State of Israel pertaining to the customs,
practices and ancient and modern history of the Jewish people.




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               Fourth:      Additions to the Trusts.

               Any person, including the Grantor, by a transfer to take
     effect during the life of such person or upon the death of such
     person, may, at any time or times, add to the principal of any
     trust hereunder any property or any kind or nature acceptable to
     the Trustees, and any such additional property so received by the
     Trustees      pursuant    to   the   provisions   of   this   Article   shall
     thereafter be deemed to be part of the principal of such trust
     subject to all of the terms, provisions and conditions of this
     Trust Agreement.


                   FIFTH:       Irrevocability.

                   This Trust Agreement and the trusts hereby created
      are irrevocable and not subject to amendment or change.


                   SIXTH:       Governing Law.

                   This Trust Agreement and the trusts hereby created
      shall be governed by the laws of the State of New York.


                   SEVENTH: Trustees.

                   A.       The initial Trustees acting hereunder shall be
      LAWRENCE M. SMALL and SASH A. SPENCER.

                   B.       Each individual acting as a Trustee hereunder
      (whether such Trustee is initially a party to this Trust Agree-
      ment or a successor Trustee named in Section C of this Article
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     or appointed pursuant to the provisions of this Section B) is
     authorized and empowered to appoint another individual (other than
     the Grantor) to act in his or her place and stead as a Trustee
     hereunder. Each appointment of a successor Trustee hereunder shall
     be made by the execution of an instrument of appointment signed
     and acknowledged by the individual who shall have made such
     appointment and by delivering such instrument in accordance with
     the   provisions    of   Section   G   of   this   Article;   and    any   such
     appointment may be revoked in the same manner by the individual
     Trustee who shall have made it at any time before the occurrence
     of the event or events as of which such appointment shall, by its
     provisions, become effective. Any appointment made in accordance
     with the provisions of this Section B shall be valid only if the
     individual so appointed shall, within thirty (30) days after the
     later of (i) the date on which a copy of such instrument of
     appointment is so delivered to him or her, and (ii) the occurrence
     of the event or events as of which such appointment shall, by its
     provisions, become effective, qualify as a successor Trustee under
     this Trust Agreement in accordance with the provisions of Section
     D of this Article. Each successor Trustee named in Section C of
     this Article or appointed in accordance with the provisions of this
     Section B shall be vested with the same powers and authority as
     the initial Trustees who are parties to this Trust Agreement;
     provided, however, that no such Trustee shall be permitted to
     exercise any authority or




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     power which such Trustee shall be prohibited from exercising by an
     express provision of this Trust Agreement.


           C.              1.    If either LAWRENCE M. SMALL or SASH A.
     SPENCER shall cease to act as a Trustee hereunder, and no
     successor Trustee appointed by him pursuant to the provisions of
     Section B of this Article shall quality and act as a Trustee
     hereunder, MARTIN A. COLEMAN (now residing at 51 Cambridge Road,
     Great Neck, New York 11023) shall act as Trustee hereunder.



           2.      If MARTIN A. COLEMAN shall fail or cease cease [sic] to
     act as a Trustee hereunder, and no successor Trustee appointed by
     him pursuant to the provisions of Section B of this Article shall
     quality and act as a Trustee hereunder, THOMAS G. HARDY (now residing
     at 935 Park Avenue, New York, New York 10028) shall act as a Trustee
     hereunder.

                  D.      Each successor Trustee hereunder shall qualify as
     such by accepting the trusteeship by the execution of a signed and
     acknowledged      instrument   of   acceptance   and   by   delivering   such
     instrument in accordance with the provisions of Section G of this
     Article.

                  E.      Any individual Trustee hereunder may resign as
     such a Trustee by the execution of a signed and acknowledged
     instrument of resignation and by delivering such instrument in
     accordance with the provisions of Section G of this Article.



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     Any such resignation shall become effective upon the receipt
     of such instrument of resignation by each individual to whom
     it is delivered or mailed as aforesaid or at such later date
     as may be specified therein.


          F. If any individual while acting as a Trustee hereunder shall
     become incapable of discharging his or her responsibilities and
     duties an such a Trustee by reason of a physical, emotional or
     intellectual incapacity and such incapacity shall be confirmed by
     each of two medical doctors in written statements, copies of which
     shall     be   delivered   or   mailed   as   hereinafter   provided,     the
     individual who is so incapacitated shall be deemed for the purposes
     of construing and applying all of the provisions of this Trust
     Agreement      to   have   effectively   resigned   as   such   Trustee   in
     compliance with the provisions of Section E of this Article, such
     resignation to be deemed to be effective upon the delivery or
     mailing of the aforesaid statements as hereinafter provided. Each
     of the aforesaid statements shall be signed and acknowledged by
     the medical doctor making the same and copies of the same shall
     be delivered or mailed by registered or certified mail to the
     individual, if any, who will become the successor Trustee hereunder
     in the place and stead of the incapacitated Trustee to whom such
     statement pertains, to each Trustee, if any, then acting hereunder
     (other than the incapacitated Trustee to whom such statement
     pertains), and also to either (i) the Grantor (or, if the Grantor
     shall not then be



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   living, to the executors, administrators or personal representa-
   tives of the Grantor's estate), or (ii) any one or more of the adult
   individuals to whom or for whose use or benefit the income of any
   trust hereunder may then be paid or applied.


         G.     Each     instrument    directed    to   be   delivered    in
   accordance with the provisions of this Section G shall be delivered
   in person or by mailing a copy of the same by registered or
   certified mail to each Trustee, if any, then acting hereunder
   (other than the Trustee, if any, who shall have executed such
   instrument), and to either (i) the Grantor (or, if the Grantor is
   not then living, to the executors, personal representatives or
   administrators of the Grantor's estate), or (ii) any one or more
   of the adult individuals to whom or for whose use or benefit the
   income of any trust hereunder may then be paid or applied.



         H.     No bond or other security shall be given by or
   required in any jurisdiction (whether in the State of New York
   or elsewhere) of any Trustee at any time acting hereunder
   (whether such Trustee is named herein or appointed pursuant to
   the provisions hereof) for the faithful performance of such
   Trustee's fiduciary duties in any capacity hereunder regardless
   of whether such Trustee is or may become a non-resident of the
   State of New York or elsewhere.




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               Eighth:      Compensation of Trustees.

               No Trustee hereunder, whether such Trustee is herein-
    above named or appointed pursuant to the provisions hereof, shall
    be entitled to any compensation (other than reimbursement
    for out-of-pocket expenses) for services rendered as a Trustee
    hereunder; and each Trustee who is a party to this Trust Agreement
    or who qualifies as a successor Trustee hereunder as provided herein
    shall be deemed to have agreed to serve as such Trustee without
    receiving any such compensation.

               NINTH:      Settlement of Trustees' Accounts;
                           Exoneration of Trustees.

               A. To the fullest extent permitted by law, the Trustees
    shall not be required to file with or render to, and the Grantor
    waives and excuses the filing with or rendering to, any Court an
    account of their transactions or inventories, accounts, statements or
    reports of principal and/or income with respect to any trust created
    hereunder. Nevertheless, the Trustees may at any time have their
    accounts judicially settled with respect to any trust created
    hereunder, and in any such proceeding it shall not be necessary to
    serve any person who is under a disability if there is another party
    to the proceeding who is not under any disability and who has the
    same interest as the person who is under a disability, and, in such
    event, it shall not be necessary to appoint a guardian ad litem for
    any such party who is under a disability. The expenses of any such

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     account shall be a proper administration expense of the trust to which
     such account relates.


          B.       If any Trustee shall resign as a Trustee hereunder, the
    continuing Trustee, if any, or, if there is no continuing Trustee,
    any successor Trustee who shall have qualified to act in accordance
    with the provisions of Section D of Article SEVENTH hereof, may deliver
    to the Trustee so resigning an instrument whereby such resigning
    Trustee shall be released and discharged, to the extent stated therein,
    of and from any and all accountability, liability and responsibility
    for        or omissions as Trustee. Any such release and discharge shall
    be binding upon all persons, whether or not then in being, then or
    thereafter interested in either the income or the principal of any
    trust hereunder and shall have the force and effect of a final decree,
    judgment or order of a court of competent jurisdiction rendered in an
    appropriate action or proceeding for the judicial settlement of the
    account of such Trustee in which jurisdiction was obtained of all
    necessary and proper parties. The foregoing provision, however, shall
    not preclude any Trustee so resigning from having his or her account
    judicially settled, and in any such proceeding it shall not be
    necessary to serve any person who is under a disability if there is
    another party to the proceeding who is not under any disability and
    who has the same interest as the person who is under a disability,
    and, in such event, it shall not be necessary to appoint a guardian


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      ad litem for any such party who is under a disability. The
      expenses of any judicial account rendered by a Trustee who
      shall resign shall be a proper administration expense of the
      trust to which such account relates.


           C.      In addition to the foregoing, the Trustees are
    hereby authorized, at any time and from time to time, with
    respect to any trust hereunder, to settle the account of the
    Trustees by agreement between the Trustees and the then adult
    individual or individuals to whom or for whose use or benefit
    the income of such trust may then be paid or applied and the
    adult or adults who would be entitled to the principal in case
    such trust were to terminate at the time of such agreement,
    excluding any such individual who is under a disability if there
    is a party to the agreement who is not under any disability and
    who has the same interest as the individual who is under a
    disability, which agreement shall bind all persons, whether or
    not then in being, then or thereafter interested in either the
    income or the principal of such trust. Any such settlement shall
    have the same force and effect as a final decree, judgment or
    order of a court of competent jurisdiction rendered in an
    appropriate action or proceeding for the judicial settlement of
    such account in which jurisdiction was obtained of all necessary
    and proper parties. The expenses of any such account shall be
    a proper administration expense of such trust.


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           D.      To the extent permitted by law, no Trustee shall be
     accountable, liable or responsible for any act, default,
     negligence, or omission of any other Trustee.


                 TENTH:      Definitions.

                 Wherever used in this Trust Agreement:

                      1.     The word “Trustees” and all references to the
   Trustees shall mean and refer to the Trustees and successor Trustees
   hereinabove named, any successor Trustee appointed pursuant to the
   provisions hereof, any substitute Trustee appointed by a court of
   competent jurisdiction, the survivors or survivor of them, and their
   and each of their successors or successor, as may be acting hereunder
   from time to time.

                      2.     The words "IN TRUST" shall mean “in trust,
   nevertheless, to hold, manage, invest and reinvest, and, until
   payment thereof as hereinafter directed, to receive the income
   thereof.”

                      3.     The word "pay" shall, where applicable, mean
   “convey, transfer and pay” and the word “payment” shall, where
   applicable, mean “conveyance, transfer and payment.”

                      4.     The words "descendant" and "descendants,"
   when used with respect to any person, shall be deemed to include
   (i) every individual who is born to such person, (ii) every
   individual who is lawfully adopted by such person, and (iii)

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    every individual who is otherwise descended from such person,

    whether by birth, or by lawful adoption, or by a combination

    thereof.


          5.     The words "Internal Revenue Code" shall mean and

    refer to "the United States Internal Revenue Code of 1986

    (as amended from time to time)," and any reference to a

    specific section, chapter or other provision of the Internal

    Revenue Code shall mean and refer to said section, chapter

    or   other    provision         and      any    successor    statute     thereto

    pertaining     to    the     same     subject     matter    as   said   s ection,

    chapter or other provision.


                 ELEVENTH: Administrative Powers.




          A.     In     ad diti on      to   and    in   ampl ifi cati on    of   t he

    p ower s giv en by l aw to trus tees , t he Tr uste es, bu t sol ely

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    e mpow ered , in the ir d iscr etio n:


                        1.      To sell, exchange, make contracts with

    respect to, grant options on or otherwise dispose of, at

    public or private sale, at such prices, on such terms

    (including sales on credit with or without security) and at

    such time or times as the Trustees shall determine, any property,

    real or personal, which may at any time form part of any trust

    hereunder.


                        2.      To lease, for such periods (whether or not

    any such period shall extend beyond the period prescribed by law



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    or the probable term of any trust hereunder), on such terms and
    conditions and at such time or Limes as the Trustees shall determine,
    the whole or any portion or portions of any property, real or personal,
    which may at any time form part of any trust hereunder, whether the
    same be held in severalty or as tenant-in-common with others or in a
    partnership, syndicate or joint venture or otherwise, and release and
    convey any undivided interest in any such property for the purpose of
    effecting partition of the whole or any part thereof; and make, place,
    extend or renew mortgages, pledges, building loan agreements or build-
    ing loan mortgages upon or affecting any and all such property; and
    make, execute and deliver such mortgages, pledges and agreements,
    together with proper bonds, notes or other instruments of indebtedness
    to accompany the same, and such extension or renewal agreements, as to
    the Trustees shall seem necessary, advisable or proper; and also to
    repair, alter, reconstruct, build upon or improve any such property
    and on such terms and at such time or times as the Trustees shall
    determine, give and grant to others the right so to do, or agree in,
    or so modify any lease affecting any such property that the lessee
    may alter, repair, reconstruct, build upon, improve, mortgage and
    pledge any such property; and generally to make, alter and modify
    all agreements, leases, mortgages, pledges, building loans, sales,
    exchanges, transfers and conveyances of or affecting any such
    property which the Trustees shall determine to be necessary,
    advisable or proper for the preservation, improvement, enhancement




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    in value of, or betterment of or addition to, such property.

                         3.   To hold any part or all of the assets of any
     trust hereunder invested in the same form of property in which the
     same shall be invested when received by the Trustees, and invest
     and reinvest the assets of any such trust, or any portion thereof,
     in any form of investment which the Trustees may determine
     (including, without limitation, mutual funds, common trust funds,
     investment trusts, general partnerships and limited partnerships),
     whether or not such investment is of the nature prescribed by law
     as a legal investment for fiduciaries or is speculative in nature,
     and without regard to the percentage of the assets of such trust
     which such investment or similar investments may constitute.

                         4.   To vote in person or by proxy all stocks and
     other securities held by any trust hereunder; grant, exercise, sell
     or otherwise turn to account rights to subscribe for stock and
     securities and options of any nature; amortize or refrain from
     amortizing premiums on bonds or other securities which the Trustees
     may purchase or receive; participate in reorganizations, mergers,
     liquidations or dissolutions, and contribute to the expenses of,
     and deposit securities with, protective committees in connection
     therewith; participate in voting trusts; and generally exercise,
     in respect of said stock and securities, all




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     rights, powers or privileges which may be lawfully exercised by
     any person owning similar property in his or her own right.




          5.         To employ any investment counsel, corporate custodians,
    agents, accountants, brokers and attorneys which the Trustees may
    select     and    pay    the     charges   thereof       (including   charges     for
    preparation of trust tax returns, the Trustees’ accounts and any
    other necessary trust records); and the Trustees, or a partnership,
    corporation       or    other    entity    in    which    any   Trustee   shall   be
    interested, or by which any Trustee may be employed, may be retained
    in any such capacity, and, in such event, the charges which shall
    be payable to such Trustee, or to any such partnership, corporation
    or other entity, shall be in addition to compensation otherwise
    allowable to such Trustee and may be paid without prior judicial
    approval.

          6.         In any case in which the Trustees are authorized or
    required to pay or distribute any share of any trust hereunder,
    to make such payment or distribution in kind, or partly in kind
    and partly in money and, in connection therewith, to allocate
    equal or unequal interests in, or amounts of, specific property
    in   satisfaction        of     such   payment    or     distribution;    provided,
    however, that any property distributed in kind shall be valued,
    for purposes of such distribution, at its fair market value on the
    date of distribution.



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                          7.    To settle, adjust, compromise or submit to
    arbitration any dispute, claim or controversy in which any trust
    hereunder may be in any way interested.

                          8.    To borrow money from any person, partner-
    ship, corporation or other entity, who may be any Trustee or
    a partnership, corporation or other entity in which any
    Trustee may be interested, or by which any Trustee may be
    employed, for the purpose of meeting any and all charges
    against any trust hereunder or for any other purpose connected
    with       the   administration,      preservation,      improvement     or
    enhancement in value of any such trust, and, in connection
    with any such borrowing, to pledge, hypothecate or mortgage
    any part or all of the assets of any such trust.

                          9.    To keep any or all of the securities at
    any time forming a part of any trust hereunder in the name
    of one or more nominees.

                          10.   In any case where doubt or uncertainty
    exists under applicable law or this Trust Agreement, to
    credit receipts and charge expenses to principal or income,
    or partly to each.


                          11.   By instrument or instruments signed by all
    of the Trustees qualified and acting as such at any time with
    respect to any trust hereunder, to delegate, in whole or in
    part, to any person or persons (including any one or more of
    the

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      Trustees) the authority and power to (i) sign checks, drafts
      or orders for the payment or withdrawal of funds from any bank
      account or other depository in which funds of such trust shall
      be held, (ii) endorse for sale, transfer or delivery, or sell,
      transfer or deliver, or purchase or otherwise acquire, any and
      all stocks, stock warrants, stock rights, bonds or other
      securities whatsoever with respect to such trust, and (iii)
      gain access to any safe deposit box which may be in the names
      of the Trustees and remove part or all of the contents of any
      such safe deposit box and release and surrender the same.


                         12. To pay or deliver to either parent or to the
     guardian of the property of any minor or to an adult with whom
     such minor resides, and, with respect to any person for whom it
     is permissible to do so under applicable law, to a custodian
     for such person under a Uniform Gifts to Minors Act or Uniform
     Transfers to Minors Act of any state until the age of eighteen
     (18) years (or until such age in excess of eighteen (18) years
     as shall be permissible under applicable law and which the
     Trustees, in their discretion, shall select) any sum or prop-
     erty, including income, which such minor or such person shall
     either be entitled to receive or to have applied for his or her
     use or benefit under any of the provisions hereof, without
     requiring that such parent, adult or custodian obtain letters
     of   guardianship     or   that   such    parent,   guardian,   adult   or
     custodian give any bond or other security for any such payment
     or delivery


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        so made; and the receipt of such parent, guardian, adult or
        custodian for the amount of such payment, or for the property so
        delivered, shall be an absolute protection to the Trustees and a
        complete release and discharge from all further accountability in
        respect of any such payment or delivery.

               13. If any beneficiary of any trust hereunder shall, in the
        opinion of the Trustees, be or become incapacitated (whether by
        reason of illness, age or other causes) the Trustees may, in
        their discretion, wholly or partly in lieu of paying net income
        or principal of such trust to such beneficiary as authorized or
        directed by this Trust Agreement, dispose of the same in one or
        more of the following ways:

                               (a)   by making payment of such net income
                         or principal to a legally appointed guardian or
                         other fiduciary of such beneficiary;


                               (b)   by making payment of such net income
                         or principal, on behalf of such beneficiary, to
                         any person with whom such beneficiary resides or
                         who has charge of his or her care; and/or

                               (c) by applying such net income or princi-
                         pal directly for the use or benefit of such ben-
                         eficiary.
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                         14.   To remove the assets of, hold and administer
      any such assets in, and/or move the situs of the administration of
      any trust hereunder to, such location or locations (which may be in
      a state or other jurisdiction other than the State of New York) as
      the Trustees, in their discretion, shall select. If the Trustees,
      in their discretion, shall determine it advisable to move the situs
      of the administration of any trust hereunder to a location where
      the judicial administration of trusts is required or permitted, the
      Trustees are authorized to select and request a court in such
      location having jurisdiction over the administration of trusts to
      accept jurisdiction over the administration of such trust, and it
      is requested that such court accept, and that it be permitted to
      accept, jurisdiction over the administration of such trust; and it
      is directed that the administration of such trust shall be
      governed from time to time by the laws of the jurisdiction in
      which the administration of such trust is then located.


                         15.   To make, or refrain from making, elections
      or allocations permitted under any applicable tax law without
      regard to the effect of any such election or allocation on the
      interest of any beneficiary of any trust hereunder and, if any such
      election or allocation shall he made, to apportion, or refrain from
      apportioning, any benefits thereof among the respective interests
      of the beneficiaries of such trust, all in such manner as the
      Trustees shall deem appropriate.



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                         16.   To retain or invest in solido the property
     held in any trust hereunder with the property held in one or more of
     the other trusts hereunder or with the property held in any other
     trust created by the Grantor or by any other person for purposes of
     convenience or for the better investment thereof.

                         17.   To exercise all authority, powers, privileges
     and discretion conferred in this Article after the termination of
     any trust created hereunder and until all of the assets of such
     trust are fully distributed.

                 B.      No person or party dealing with the Trustees shall
     be bound to see to the application of any money or other
     consideration paid by him or her to the Trustees.

                 C.      Neither the principal nor the income of any trust
    hereunder, or any part thereof, shall or may at any time be liable or
    subject in any manner whatsoever to the debts or liabilities of any
    beneficiary entitled to receive any principal or income therefrom; nor
    shall the principal or income of any trust hereunder be liable to
    attachment by garnishment proceedings or other legal process issued
    by any creditor of any beneficiary of such trust for debts heretofore
    or hereafter contracted by such beneficiary; nor shall any assignment,
    conveyance, charge, encumbrance or order, either of principal or
    income, given by any such beneficiary be valid.




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               D. Wherever in this Trust Agreement it is provided that an
      instrument is to be "acknowledged," such instrument shall be acknowledged
      in such manner as would be required if the same were a conveyance of real
      property entitled to be recorded in the State of New York.
               E.       1.   To   the   fullest    extent   permitted   by   law,   no
      transaction or decision involving any trust hereunder shall be deemed
      invalidated in any way by reason of any personal, beneficial or other
      interest which any Trustee may have with respect to such transaction
      or decision, including, without limitation, any transaction or
      decision with respect to any corporation, company, partnership,
      association, estate, trust or other entity in which any Trustee may
      have an interest in a capacity other than as a Trustee hereunder,
      regardless of any conflict of interest as to any such transaction or
      decision, and any such transaction or decision shall be lawful and
      proper and shall not be questioned unless such Trustee is guilty of
      fraud with respect thereto. Without limiting the foregoing, no Trustee
      shall be disqualified or barred from acting as such or have any
      liability hereunder in exercising any power, authority or discretion
      conferred upon the Trustees by reason of the fact that such Trustee
      may   be      a    stockholder,   officer,    director,   partner,     executor,
      administrator, personal representative, trustee, beneficiary, or in
      any other way interested in the corporation, company, partnership,
      association, estate, trust or other entity


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     whose securities or property are the subject matter of the exercise
     of such power, authority or discretion.

                          2. The Trustees hereunder shall be entitled to
     compensation as officers, directors, fiduciaries or other parti-
     cipants in any such entity notwithstanding the fact that they are
     Trustees hereunder and are also entitled to receive reimbursement for
     their out-of-pocket expenses as such Trustees.



         F. The Trustees shall be under no duty or obligation and shall
     not be liable to any trust hereunder or to any person or persons
     interested in any trust hereunder or be surcharged for failure to
     buy, sell or engage in any transaction directly or indirectly
     involving securities issued or to be issued by any corporation or
     other business organization concerning which any of the Trustees, in
     a capacity other than as a Trustee hereunder, may have acquired any
     information which has not been disclosed to the public.

                 TWELFTH: Provisions Relating to the GST.


                 A.   As used in this Article:

                         1.   "GST" shall mean and refer to “the United
     States generation-skipping transfer tax imposed by Chapter 13 of the
     Internal Revenue Code.”




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                         2.    The words "inclusion ratio" shall have
    the same meaning as those words are given in Section 2642 of
    the Internal Revenue Code.

                         3.    The words "Net Death Taxes" shall mean and
    refer to “the aggregate death taxes (including, without limita-
    tion, United States, state, local and other estate taxes and
    inheritance taxes but not including any interest and penalties
    thereon), after taking into account all applicable credits,
    payable with respect to the estate of such beneficiary.”

          B.     1.      Notwithstanding any other provision in this Trust
    Agreement to the contrary, and in addition to any other power of
    appointment hereinabove given by the previous provisions of this
    Trust Agreement to any individual at whose death the inclusion
    ratio with respect to any trust under this Trust Agreement would,
    but for the provisions of this Section B, be more than zero (such
    individual    being       referred   to   in   this   Article    an   "such
    beneficiary"), the Trustees of such trust are authorized and
    empowered, by an acknowledged instrument in writing (with such
    instrument to be filed with the court, if any, then having
    jurisdiction over such trust, if such Court shall accept such
    instrument for filing), (i) to create in such beneficiary a power
    (hereinafter referred to in this Section B as “such power”), to
    be exercised by a provision in his or her Will

    expressly referring to this Article of this Trust Agreement, to
    appoint to the creditors of his or her estate any portion of the
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       property        held    in     such    trust       at   the    death     of    such
       beneficiary, and (ii) to limit such power, by formula or
       otherwise, to less than all of the property held in such
       trust      at    the    death     of    such       beneficiary;         provided,
       however,        that    with    respect       to    each      such    trust,    the
       maximum amount of property over which such power may be
       created         shall   not,     after    taking         into        account    the
       property, if any, over which any other such power is
       created in such beneficiary, exceed the amount, if any,
       above which any further addition to the amount subject
       to      such    power    would    increase         the     Net   Death        Taxes
       determined with respect to such beneficiary's estate
       by an amount equal to or greater than the net decrease in the
       aggregate of (x) the GST and (y) any state and/or local tax
       on generation-skipping transfers imposed as a result of the
       death of such beneficiary that would result from such further
       addition. Unless such beneficiary's Will otherwise provides
       by express reference to this Trust Agreement and such power,
       the increase in the Net Death Taxes on such beneficiary's
       estate resulting from such power shall be paid from that part
       of the principal of such trust over which such power is
       exercisable. If, or to the extent that, such beneficiary shall
       fail so expressly and so validly to exercise any power created
       in such beneficiary by the Trustees pursuant to the provisions
       of this paragraph, the unappointed portion (or, as the case
       may be, all) of the property subject to such power shall pass
       pursuant to the provisions of this Trust Agreement otherwise
       applicable to such property.


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               2.   The Trustees are further authorized and empowered, by an
       acknowledged instrument in writing (with such instrument to be filed
       with the court, if any, then having jurisdiction over the trust to
       which such power relates, if such court shall accept such instrument
       for filing), to revoke any power created by the Trustees pursuant to
       the provisions of paragraph 1 of this Section B at any time prior to
       the death of the beneficiary in whom such power was created, and to
       release, in the manner set forth in Article THIRTEENTH hereof, the
       right to create such a power. The Trustees shall not be liable for
       any exercise, release or failure to exercise the authority and power
       granted to them by the provisions of said paragraph 1 or for the
       revocation of any power created by them pursuant to the provisions of
       said paragraph 1, provided they utilize good faith in considering
       whether or not to exercise or release such power or to cause such
       revocation, whether such consideration be at their own instance or at
       the request of an individual who is a beneficiary of a trust hereunder,
       the guardian or other fiduciary of such an individual, or a member of
       his or her family.

               C.   1.    Notwithstanding any other provision in this Trust
      Agreement to the contrary, if at any time any property is to be placed
      in a trust under the provisions of any Article of this Trust
      Agreement, the Trustees shall, if need be, and if it is possible to
      do so, divide such property and place the same in separate trusts to
      the end that one such trust shall have an


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      inclusion ratio of zero, and if any property which is directed to be
      added to a trust hereunder shall have an inclusion ratio which is
      different than the inclusion ratio of such trust, the Trustees shall
      not make such addition but shall instead administer such property in
      a separate trust under this Trust Agreement; and, in each such
      instance, the property to be placed or held in such a separate trust
      shall be held, administered and disposed of by the Trustees pursuant
      to provisions identical to the provisions of the trust to which, but
      for the provisions of this paragraph 1, such property would have been
      placed or added.


               2.    If, pursuant to the provisions of paragraph 1 of this
      Section C, any property that would otherwise be held in a single
      trust hereunder is instead held in separate trusts hereunder, the
      Trustees of such trusts may, at any time or from time to time, (i)
      make different tax elections and allocations with respect to each
      such trust, (ii) expend principal and income and exercise any
      discretionary power differently with respect to each such trust,
      (iii) invest each such trust differently, and/or (iv) take all other
      actions       consistent   with   such   trusts   being   separate    entities.
      Furthermore, the donee of any power of appointment with respect to
      such trusts may exercise such power differently with respect to each
      such trust.

                    D.   Notwithstanding   the    provisions    of   the   foregoing
     Sections of this Article to the contrary, if any Trustee hereunder
     is a current beneficiary of the income of any trust hereunder,




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   or may, in the discretion of the Trustees, be a current income
   beneficiary of any such trust, then, in such event, such Trustee
   shall not, in his or her capacity as a Trustee of such trust, have
   any voice or vote or otherwise participate in any decision
   pertaining to the matters relating to such trust that are addressed
   in the foregoing Sections of this Article, and, in each such event,
   the other Trustee or Trustees of such trust shall make all decisions
   relating to such trust that pertain to such matters.

                 THIRTEENTH:      Release of Powers.

                 Any beneficiary and any Trustee hereunder may at any
     time or times release any discretionary power of appointment or
     discretionary power to distribute principal or income or any
     other discretionary power hereby given to such beneficiary or
     Trustee, either with or without consideration, with respect to
     the whole or any part of the property subject to such power and
     also in such manner as to reduce or limit the persons or objects
     or classes of persons or objects in whose favor such power would
     otherwise be exercisable, by an instrument signed and acknowl-
     edged by the beneficiary or Trustee releasing such power and
     delivered to (i) each Trustee then acting hereunder (other than
     the Trustee, if any, who shall have executed such instrument),
     (ii) the Grantor (or, if the Grantor is not then living, to the
     executors, administrators or personal representatives of the
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      Grantor's estate), or (iii) any one or more of the adult individuals
      to whom or for whose use or benefit the income of any trust hereunder
      may then be paid or applied. In the event of the release of any such
      power by any Trustee, the remaining Trustee or Trustees hereunder,
      if   any,   may    thereafter     exercise   such   power,   other    than   any
      discretionary power which was not initially vested in such remaining
      Trustee or Trustees. The release of any power by any Trustee hereunder
      pursuant to the provisions of this Article shall not be binding upon
      any Trustee who may thereafter act as a Trustee hereunder unless such
      power shall have been released by all of the Trustees then in office
      who are vested with such power by their execution of a signed and
      acknowledged instrument specifically providing that such release is
      to be binding upon all successor Trustees hereunder.

                  FOURTEENTH:         Provision With Respect To
                                      Closely Held Businesses.

                  Without limiting the powers and authority conferred upon
      the Trustees by Article ELEVENTH hereof but in extension thereof, the
      Trustees    are    specifically    authorized   and   empowered,     in   their
      discretion, to retain for as long as they, in their discretion, shall
      deem advisable, any or all shares of stock in any closely held
      corporation, or any indebtedness owing by any such corporation, or
      any or all interests in any proprietorship, unincorporated business,
      partnership, joint venture, realty or




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      any other asset, whether owned individually, as tenant-in-common,
      partner or otherwise, regardless of whether such asset or assets shall
      be producing profits or losses through ownership or operation thereof,
      and regardless of the percentage of the trusts hereunder which such
      assets or similar assets may constitute; and their decision to retain
      and hold any such asset or liability shall be binding and conclusive
      upon and shall not be subject to question by any person interested,
      or who may become interested, in any of the trusts hereunder, and
      the Trustees shall not incur any liability by reason thereof.


                 FIFTEENTH:       Headings.

                 The Article headings contained herein are inserted only
      as a matter of convenience and in no way define, limit, extend or
      describe the scope hereof or the intent of any provision hereof.


                 SIXTEENTH:       Severability.

                 Should any part, clause, provision or condition hereof be
    held to be void or invalid, then such invalidity shall not affect any
    other part, clause, provision or condition hereof, but the remainder
    hereof shall be effective as though such void




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        part, clause, provision or condition had not been contained
        herein.

                   WITNESS the due execution hereof by the Grantor
        and Trustees on the day and year first above written.
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